    Case 1:06-cr-00059-DLH-CSM             Document 70        Filed 08/22/06      Page 1 of 1




                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NORTH DAKOTA
                              SOUTHWESTERN DIVISION

United States of America,                     )
                                              )       ORDER DENYING DEFENDANT
                       Plaintiff,             )       WALLI’S SECOND MOTION FOR
                                              )       DISMISSAL OF THE CHARGE
       vs.                                    )
                                              )       Case No. 1:06-cr-059
Michael R. Walli,                             )
                                              )
                       Defendant.             )

       Before the Court is defendant Michael R. Walli’s second “Motion for Dismissal of the

Charge” filed on August 22, 2006. Walli asserts that, according to several international treaties and

agreements, the indictment should be dismissed. The Court treated Walli’s previous motion as a

challenge to the sufficiency of the indictment. The Court previously found that the indictment was

legally sufficient according to the standards adopted by the Eighth Circuit and that Walli failed to

establish a basis to warrant dismissal of the indictment.

       Walli’s current motion also fails to set forth a basis to dismiss the Indictment. As a result,

the Court DENIES the Defendant’s second Motion for Dismissal of the Charges. (Docket No. 68).

       IT IS SO ORDERED.

       Dated this 22nd day of August, 2006.

                                              /s/ Daniel L. Hovland
                                              Daniel L. Hovland, Chief Judge
                                              United States District Court
